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                                Exhibit 2
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                             EXPANSION OF THE WITNESS’S OFFICIAL STATEMENT



   In the city of Chihuahua, Chihuahua, at 7:55 pm, on the Ninth of July of Twenty Twenty, before the
   undersigned Ms. Silvia Madrid Bustillos, Public Prosecution Agent of the Office of the State Attorney
   General of Chihuahua, acting herein on the basis of the provisions in Articles 21 of the Constitution of the
   United Mexican States, 118 and 119 of the State Constitution of Chihuahua, 131, 212, 213, 215, and 251,
   section X of the National Criminal Procedure Code; along with items 1, 2, paragraph B, and 12 of the
   Organic Law of the Office of the State Attorney General; and 19 and 20 of its internal regulations; a person
   did freely and voluntarily appear named JESUS MANUEL LUNA HERNÁNDEZ, identified herein by his voter
   registration number 1319127951833, which is here before me and contains on its left side a color
   photograph of a male individual who matches each and every one of the appearing party’s physiognomic
   traits, a document that after having been reviewed has been attached hereto as a copy. Thereafter, the
   undersigned made the appearing party aware of his obligation to tell the truth with respect to what he
   knows and is asked, as well as the obligation not to conceal any facts or circumstances, and in the event
   of failing to do so, he will have engaged in behavior involving criminal liability, in accordance with the
   provisions set forth in Articles 307 and 308 of this state’s Criminal Code, which state the following: “Article
   307. One who when making statements to an authority in their professional capacity or as a result thereof
   fails to tell the truth substantially and deliberately, in relation to the facts that gave rise to their
   intervention, shall be punished with six months to six years in prison and a fine equal to one hundred to
   three hundred days […].”; “Article 308. Anyone who makes a false statement to an authority as a witness
   or a deponent, with the goal of incriminating or exonerating another, gaining favor with their requesting
   party, or causing harm to a counterpart, unduly, regardless of whether they succeed, will be punished with
   three to seven years in prison, in addition to the fine to which the first paragraph of the preceding article
   referred […].”; and he was likewise informed of the right to abstain. As such, having duly imposed and
   warned of the penalties that are imposed upon those who make false declarations to an authority, he was
   SWORN IN in accordance with item 49 of the National Criminal Procedure Code, to which he responded:
   I hereby swear to tell the whole truth with respect to everything I am going to state to this authority.
   Thereafter, he identified himself by saying that his name is as written, he is twenty-six years old, born on
   August 5, 1993, marital status: single, employed, son of María Guadalupe Hernández Chaparro and Jesús
   Manuel Luna Ríos (Deceased), originally from Hidalgo del Parral, Chihuahua, and a resident of this city
   with an address at Calle Luis de Angosturas, No. 210, in colonia San Felipe, of this city, telephone number
   (627) 150-5517, without any other identifying information of note at this type. Therefore, in relation to
   his appearance as party to Investigation File 19-2018-28510, the witness stated the following:
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   As I stated in the statement I gave on May 23, 2019, as part of this investigation, I was the Private Secretary
   or Technical Secretary of the Governor of the State of Chihuahua, CESAR HORACIO DUARTE JÁQUEZ, from
   April 2015 until the end of his administration, that is, until October 4, 2016. My job consisted of
   coordinating all the events, tours, calls, and agendas of the governor. For that reason, I spent all day and
   part of the evening accompanying the governor, given that I worked an average of 18 or 20 hours a day
   with him, Monday to Sunday, but also when he left the city I accompanied him and spent nearly 24 hours
   a day with him.

   That proximity with DUARTE enabled me to become familiar with a ton of situations about his personal
   and professional life, as well as the situations that occurred inside his government offices or wherever he
   would go. I always treated CÉSAR DUARTE with a lot of respect, however, he was an offensive, aggressive
   person with me, since every time that he had the chance, he used to insult me with very offensive fancy
   words, demeaning my work and myself, including on one occasion, some time around July 2015, he
   punched me in the right shoulder when we were driving in a van on the way to the airport to catch a flight
   and deal with an official matter in Mexico City. This was in response to confusion that occurred because of
   a phone call that I didn’t transfer to him.

   Working with DUARTE was difficult, because, as I mentioned, he took up nearly all my time and I was
   mistreated by him, reaching an extreme of his checking my cell phone and my personal iPad to see with
   whom I was communicating and what photographs I had, since he was very mistrustful and told me not
   to provide even the slightest information by mistake about him to anyone, nor where he was, what he was
   doing, or any other information regardless of how minor it might be. He even prohibited me from giving
   information about him to his own wife, Mrs. BERTHA OLGA GÓMEZ FONG.

   Around ten or fifteen days before his administration as governor came to an end, that is, at the end of
   September 2016, he and I were in one of the rooms of the house where he lived, known as the “Governor’s
   Mansion”, located on Avenida Zarco de la Colonia Guadalupe, in this city; on that occasion, I went into the
   room to give him his agenda and I mentioned a few details about it, and suddenly he changed subjects
   talking about the principle of loyalty, telling me “that people who are disloyal always end up paying for it
   either themselves or their family”. I considered it a comment that he had been waiting to tell me at any
   time, because it didn’t have anything to do with what we were talking about, and he said it to me very
   seriously in a threatening, intimidating tone, with a lot of emphasis, so it made me afraid for myself and
   my family, given that at that time it was public knowledge that they had found numerous irregularities in
   the handling of public funds and that DUARTE was possibly going to be investigated at the end of his term.
   Regarding that intimidation, I only answered him – yes, sir – I turned around and left, because I insist it
   was a very direct comment to intimidate or threaten me, and for the time that I had known him I could tell
   that he was a person who had a lot of power and had no limits or scruples, he was violent, that is, I consider
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   him capable of doing harm to me or to my family, or else to some other person that he thought might
   cause him harm or risk.

   After said former governor’s term ended, I started working for the State Congress of Chihuahua around
   the start of the month of November of 2016, as an advisor to Representative DIANA KARINA VELAZQUEZ
   RAMÍREZ, who had a close friendly relationship with CÉSAR DUARTE. At around the end of that same
   month or the outset of December, she told me that Mr. CÉSAR DUARTE had talked to her asking that she
   take us the next day to IMELDA BELTRAN (who was a local representative at that time, who had previously
   been the Private Secretary of Mrs. BERTHA GÓMEZ, the former governor’s wife, and as such Mrs. BERTHA
   advised her on being a Representative) and me, to the city of El Paso, Texas, that’s all she told me. And in
   fact the next day, we went to that city, and we found ourselves at around seven o’clock in the evening with
   CÉSAR DUARTE in a restaurant called the VILLAGE INN, and he sat there at a table and asked us to sit at
   another table that was separate, since he would be calling on us to talk with him one by one. I was the
   second person he called on, and we had a very brief chat of around five minutes in which he asked me if
   they had talked to me from the Attorney General’s Office to interview me or do some type of investigation
   on me, and I told him no. He responded that that if there was anything I needed he was going to be on the
   lookout and to let him know if I was offered anything, that he had already arranged everything and that
   those who were investigating him weren’t going to be able to prove anything, because he would protect
   us if we would support him in the investigations. At that time, CÉSAR DUARTE was accompanied by RAÚL
   FERNÁNDEZ, who was in charge of the cattle that DUARTE had in that city of El Paso, Texas, but he wasn’t
   there while we were talking.

   In addition, around the end of April 2017, I went to live in the state of Colorado, in the United States, and
   less than two months after I got settled there, a summons was sent to my mother’s address ordering me
   to appear before the State Attorney General’s Office. That is why I had to come back to the city of
   Chihuahua, and after getting that summons, I got in touch with then Representative KARINA VELAZQUEZ
   and I made her aware that I had been summoned. Since I was already in the city of Chihuahua and after
   having come to testify before the Attorney General’s Office, that same day, I got a telephone call from a
   private number, and when I picked up, a man spoke to me saying that a friend was going to talk to me and
   immediately I was talking to someone who clearly identified himself by his voice as CÉSAR DUARTE, who
   first greeted me with a very amiable, cordial tone of voice as if nothing had happened with me, and then
   he asked me if they had summoned me to the Attorney General’s Office and for what. My answer was yes,
   that it had been part of an investigation that was ongoing, and he immediately started asking about the
   issues, to which I answered that they asked me about a few trips that were taken in the government’s
   airplane and about a few people close to him. On that point DUARTE told me not to worry, that everything
   was under control and that his attorneys were at my disposal, to which I responded in annoyance that the
   only thing I needed was not to have any problems because of situations that I had nothing to do with. Then
   he again insisted that I shouldn’t worry but to be very careful with what I was doing and what I was saying
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   in the investigation, that I wasn’t to say anything that might hurt him, and he said that to me in a very
   threatening tone. And then he continued to ask me about the issues and which people they asked me
   about, to which I responded that I didn’t want to get into any trouble and that my phone was probably
   tapped and I hung up, since I was really upset by the situation that I found myself in and the cynical way
   that he was treating me.

   Early the next day, they added me to a WhatsApp group in which there were around four people who had
   sent messages identifying themselves as CÉSAR DUARTE’s attorneys, but I don’t recall their names, only
   that they were numbers with area codes from Mexico City; however, I never replied to the messages, and
   when I didn’t do so, I started getting calls from those same numbers, but I also didn’t answer them.

   A few days later I returned to the United States to continue working, and because of what had happened
   I decided to change my telephone number so that neither CÉSAR DUARTE nor his attorneys could find me,
   but in addition I didn’t give out my new telephone number to anybody who had anything to do with him.
   And I no longer have that telephone.

   On March 6, 2017, they arrested me in the state of Colorado, in the United States, due to a warrant for my
   arrest that had been issued for me for the improper use by CÉSAR ADRIAN DUARTE GÓMEZ, the son of the
   former governor, of the State Government’s airplane. As a result, I was deported from that country, and I
   was held for around 14 months, and when I got out of prison, I started living in this city of Chihuahua, and
   I noticed that every day some vehicles were following me at all times of the day, and it was more obvious
   when I went out at night, and even in the city of Hidalgo del Parral, where my mother lives. A few times,
   my family and I noticed that they were following us to the door of my mother’s house, and the van that
   had been following us parked next to the car, it moved about five meters forward and then stopped again
   until we went into the house, and my sister had already noticed that that van had been following us for a
   few minutes was a white Ram and that situation really troubled my sister and my mother, but me as well,
   because I thought that it was people related to DUARTE who was trying to intimidate me. On another
   occasion, when I backed out of the garage, there were vehicles outside of the house, in the opposite
   direction to which I was going, and when they saw me leave, they made a U-turn to take the same direction
   as me and followed me. This situation of their following me lasted for around two months. My mother and
   sister as well also told me that they saw vehicles parked outside my house that hung around for a long
   time.

    Likewise, when I earned my freedom and when my sentencing hearing was over, which was around the
    start of May 2019, Mrs. IMELDA BELTRAN, who, as I mentioned, was the Private Secretary of Mrs. BERTHA
    GÓMEZ, started trying to get in touch with my closest friends in a very insistent way. She would tell my
    friends that she was desperate to talk to me to pass on some messages from the gentlemen, noting that
    they were messages from CÉSAR DUARTE and his wife, because IMELDA BELTRAN and I, despite having
    had a good working relationship, we never had any issues that brought us together outside of work,
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   including during the time that I was in prison; she didn’t communicate with me or with my family to give
   any message of support or solidarity. So really it wasn’t her that was interested in talking with me, but
   CÉSAR DUARTE and BERTHA GOMEZ. That insistence of wanting to talk with me lasted for weeks, but my
   friends refused to give her my personal number at my request. My friends told that me that sometimes
   IMELDA BELTRAN would ring them up to ten times a day, and I know that for a fact, because I was with
   them sometimes when she would ring them up. And their answer was they had not seen me or that they
   would give me the message and I hadn’t gotten back to them at all.

   That is everything that he had to state. Thereafter, the undersigned Public Prosecution Agent made the
   declarant aware of the content of Articles 360 and 364 of the National Criminal Procedure Code, which
   establish the obligation of all people to attend proceedings whenever summoned and to tell the truth
   about what they know and what they are asked and the possibility of being made to appear by law
   enforcement if they didn’t appear upon having been duly summoned. In addition, he was informed of his
   obligation to appear at the trial, as well as the obligation to report any change of address and residence,
   to which he stated that he had been made aware, and not to be impossible to respond to the court
   summons. Thus, upon the appearing party’s reading of this document, he confirmed the content in each
   and every one of its parts and stated his agreement. As such, he signed in the margin and the footer of
   each of the pages that are a part of this proceeding, for all intents and purposes, before the Public
   Prosecution Agent of the Office of the State Attorney General.




                                                          [Signed]

                                      JESUS MANUEL LUNA HERNÁNDEZ

                                                          WITNESS



                                                          [Signed]

                                        MS. SILVIA MADRID BUSTILLOS

                                         PUBLIC PROSECUTION AGENT

                              OF THE OFFICE OF THE STATE ATTORNEY GENERAL




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                               CERTIFICATE OF TRANSLATION


    I, John Milan , certify that I am competent to translate this document, and that the
    translation is true and accurate, to the best of my abilities. Archival seals, stamps, and
    certifications have been translated here.

    Source filename:
    PRIORITY Anexo Declaración Ministerial de Jesus Manuel Luna Hernandez

    Translated filename:
    PRIORITY Anexo Declaración Ministerial de Jesus Manuel Luna Hernandez_T


    I certify under penalty of perjury, pursuant to 28 U.S.C. 1746, that the attached translation
    is true and correct.

    Executed this day of 14th day of July, 2020



    Signature
